     Case 4:21-cv-01997   Document 124-1   Filed on 05/01/25 in TXSD   Page 1 of 2




               EXHIBIT 1




EXHIBIT TO
PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION FOR LEAVE
TO EXTEND TIME FOR RESPONSE TO DKT. 122
           Case 4:21-cv-01997       Document 124-1           Filed on 05/01/25 in TXSD       Page 2 of 2


Abrams, Barry

From:                           Abrams, Barry
Sent:                           Wednesday, April 30, 2025 1:43 PM
To:                             Lucas Henry; Charles Crawford
Cc:                             Martin Golando; Scott, Bob; Llagostera, Domingo M.; Abrams, Barry
Subject:                        RE: 4:21-CV-01997 Virginia Elizondo vs. SBISD

Importance:                     High



Lucas-

This email is a follow up to our conversation yesterday, in which you questioned the District's ability timely
to comply with the Court's order requiring the District to present a VRA-compliant single member district
plan within the time allotted.

I have reconfirmed with Dr. Stein my understanding that it is feasible for such a plan to be prepared timely
(i.e., within the timeframe the Court has directed), particularly in light of the existence of the illustrative
plan which the District has had available to it for years.

To facilitate that process, minimize the expense to the parties, and diminish the potential for future
disagreement, Dr. Stein has agreed that he would make himself available to confer directly with either or
both Dr. Alford or Mr. Gardner (who you indicated is the District's demographer) to discuss preparation of
the required VRA-compliant single member district plan.

As you likely recall, Drs. Alford and Stein have regularly worked together in the past to prepare districting
plans for various other school districts. And Dr. Stein is optimistic that if allowed to do so, he and Dr. Alford
(along with Mr. Gardner's input) could readily do so here.

I would appreciate it if you would let us know whether the District is interested in having Dr. Stein
collaborate with Dr. Alford and/or Mr. Gardner, timely to prepare the VRA-compliant plan that Judge Lake
has directed the District to submit.

Thanks.

-Barry

Barry Abrams I BLANKROME
717 Texas Avenue, Suite 1400 I Houston, TX 77002-2727
Phone: 713.228.6606 I Fax: 713.228.6630 I Mobile: 713.582.1533
Email: barry.abrams@blankrome.com     ·




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